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UNITED sTATEs on AMERICA : oPINIoN & oRnER
v. ; 16 Cr. 575 (PAC)
DAVID CHUKWUNEKE ADiNDU
____________________________________________________________ X

HONORABLE PAUL A. CROTTY, United States District Judge:

Defendant David Ch_ukwuneke Adindu pleaded guilty to an Information charging him
with: (l) conspiracy to commit wire fraud in violation of 18 U.S.C. § 1349; and (2) conspiracy to
use means of identification in connection With a federal crime in violation of 18 U.S.C. §

1028(f). ECF 17, 29. His plea agreement stipulated to a guidelines range of 97 to 121 months of
imprisonment and provided that he would neither appeal, nor collaterally attack a sentence that
is within or below the guidelines range. ECF 33. On December 14, 2017, Adindu Was sentenced
to 41 months of imprisonment ECF 41.

On April 30, 2018, Adindu submitted a pro se request that he be resentenced to a lesser
term on the grounds that his prison condition are arduous and that he is experiencing substantial
hardship at CI Rivers, a contracted correctional facility operated by a private corporation ECF
65 . Adindu’s motion is I)ENIEI).

DIS CUSSION

Adindu is a citizen of the Republic of Nigeria and he is likely to be deported when his
prison term ends. He seeks a sentence reduction under U.S. v. Smith, which held that a

downward departure from a guidelines sentence “may be appropriate where the defendant’s

 

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status as a deportable alien is likely to cause a fortuitous increase in the severity of his sentenee.”
27 F.3d 649, 655 (D.C. Cir. 1994). He is not entitled to relief.

Firsr, the motion has no basis in laW. Smith does not create a right to seek modification
or correction to his sentence. sz'th merely permits a sentencing court to consider at sentencing
' “a fortuitous increase in the severity” of a sentence due to a defendant’s “status as a deportable
alien”. sz`th, 27 F.Bd at 655. In any event, Adindu Was sentenced Well below the guidelines

Secona', the motion for a sentence modification might have been procedurally proper had
it been brought under 18 U.S.C. § 3582(0); but Would have failed in any event.1 As noted by the
Governrnent, the imposed term of imprisonment is a final judgment that cannot be modified or
corrected unless one of the narrow statutory exceptions applies See 18 U.S.C. §§ 3582(b), (c);
18 U.S.C. § 3742. But none of the exceptions under 18 U.S.C. § 3582(c) is applicable here: none
of them permits Adindu to seek a sentence reduction based on arduous prison conditions and
substantial hardship Besides, Adindu had Waived his right to “seel< a sentence modification
under 18 U.S.C. § 3582(c), of any sentence Within or below the Stipulated Guidelines Range of
97 to 121 months’ imprisonment”. Plea Agreement at 4. This Waiver is presumptively
enforceable United Srates v. Arevalo, 628 F.3d 93, 98 (Zd Cir. 2010).

CONCLUSION

Adindu’s motion is dcnied. The Clerk of Court is directed to terminate the motion at

ECF 65.
Dated: NeW York, New York SO ORDERED

lurie 25, 2018
%»KMM,'

PAUL A. CRoTT`Y
United States District Judge

 

1 As Adindu is proceeding pro se, the Court liberally construes his motion to raise the strongest arguments that it
suggests See Barbarino v. Um'ted States, 2017 WL 1378251, at *6 (S.D.N.Y. 2017). Also in that spirit, the Conrt
suggests that Adindu pursue his administrative remedies to challenge existing prison conditions

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